Case:04-26313-ABC Doc#:21 Filed:09/30/04   Entered:10/01/04 00:10:22 Page1 of 2
         Case:04-26313-ABC Doc#:21 Filed:09/30/04                              Entered:10/01/04 00:10:22 Page2 of 2
 Enterprise Systems Incorporated
 11487 Sunset Hills Road
                                   CERTIFICATE OF SERVICE
 Reston, Virginia 20190-5234

 District/off: 1082-1                 User: fitzpatri                     Page 1 of 1                         Date Rcvd: Sep 28, 2004
 Case: 04-26313                       Form ID: pdf904                     Total Served: 3

 The following entities were served by first class mail on Sep 30,                  2004.
 db         Anthony Romero,   11495 Canterberry Ln.,   Parker, CO                   80138-8462
 db         Kristin Romero,   11495 Canterberry Ln.,   Parker, CO                   80138-8462
 aty       +Michael M. Noyes,   3900 E. Mexico Ave.,   Ste. 330,                    Denver, CO 80210-3942
 The following entities were served by electronic transmission.
 NONE.                                                                                                              TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Sep 30, 2004                                      Signature:
